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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA

         MINUTES -DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL /DETENTION ORDER -
                                         NEBBIA HEARING

Case Na MJ18-2791                                              CourtSmart CS 11/02/2018             Date: November 2, 2018
Present: The Honorable Rozella A. Oliver                                                                   U.S. Magistrate Judge
        Donnamarie Luengo                                Patrick Fitzgerald                                       N/A
          Deputy Clerk                                Assistant U.S. Attorney                             Interpreter /Language

  USA v. Aaron Eason                                              Attorney Present for Defendant:
                                                                   John McNicholas
    Present      Custody   ❑Bond     ❑Not present                   Present     CJA    ❑ Retd   ❑ DFPD       ❑Not present

PROCEEDINGS: DETENTION HEAWNG
  C~ Government's request for detention is: C~GRANTED ❑DENIED ❑WITHDRAWN ❑CONTINUED
  ❑ Witnesses CST (see separate list).         ❑Exhibits Marked/Admitted (see separate list).
  ❑ Court orders that e~►ibits be returned to the respective counsel /party of record.
     ❑ See Receipt for Release of Eachibits to Counsel.
 ❑ Counsel stipulation to bail.
 ❑ Court finds presumption under 18 USC 3142e                                      has not been rebutted.
 C~ Court ORDERS DEFENDANT PERMANENTLY DETAINED. See separate detention order.
 ❑ Court finds presumption under 18 USC 3142e                                      has been rebutted.
 ❑ Court sets bail at: $                                                 ❑ SEE ATTACHED COPY OF CR-Ol BOND FORM
     FOR CONDITIONS OF RELEASE.
 ❑ Court orders that defendant be detained for a period not to exceed ten (10)Court days. See separate order re temporary detention.
 ❑ Court orders further detention /bail hearing to be set on                                         at              ❑a.m./ ~p.m. in
     Cournoom                                           before Judge
C~ Court orders case continued to 11/9/2018                      at 11:00          C~a.m. / ❑p.m. for PIA arraignment         in
     Courtroom 341                             before Judge Duty
❑ Release Order Issued -Release No.
❑ Other:


PROCEEDINGS:               ❑REVIEW /RECONSIDERATION OF BAIL /DETENTION ORDER -BOND HEARING
                           ❑ NEBBIA HEARING

 Hearing on ❑Plaintiff's ❑Defendant's request for review /reconsideration of bail /detention order had and request is:
                           ❑ GRANTED ❑DENIED
 Court ORDERS bail as to the above-named defendant ❑modified to ❑set at: $
     ❑ SEE ATTACHED COPY OF CR-Ol BOND FORM FOR CONDITIONS OF RELEASE.
 ❑ Bond previously set is ordered vacated.
 ❑ Court orders defendant permanently detained. See separate order.
 ❑ Court denies request for bail, defendant shall remain permanently detained as previously ordered.
 ❑ Witnesses CST (see separate list).         ❑Exhibits Marked /Admitted (see separate list).
 ❑ Court orders that eachibits be returned to the respective counsel /party of record.
     ❑ See Receipt for Release of E~ibits to Counsel.
 ❑ Case continued to                                    at                ❑ a.m. / ❑ p.m. for
     before Judge                                                                  in Courtroom
 ❑ Nebbia conditions are satisfied and the Government approves the bond package as presented to the Court.
 ❑ Other


 Release Order Issued -Release No.                                                                                    48
                                                                                        Deputy Clerk Initials DL

M-46(06/10)   MINUTES -DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL /DETENTION ORDER - NEBBIA HEARING
